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                                                                  Wednesday, 24 May, 2017 09:59:39 PM
                                                                         Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION


United States of America,                      )
               Plaintiff                       )
                                               )
               vs.                             )       Case No. 15- CR-20022
                                               )
                                               )
                                               )
DANIEL BALLARD,                                )
          Defendant                            )


     MOTION TO ALLOW DEFENDANT TO OBTAIN SEALED TRANSCRIPT

       Now comes the defendant by his attorney, Lawrence S. Beaumont, and hereby

respectfully requests this court to allow the defense to order the sealed transcript of Scott

Fitts’ sentencing hearing and in support states as follows:

       (1) Scott Fitts was sentenced by the Honorable Michael P. McCuskey on May 18,

           2010. During the proceeding an in camera hearing was held in which his

           attorney proffered Mr. Fitts’ cooperation and in particular proffered

           information regarding the matters previously alleged in the instant case.

       (2) Counsel has a good faith belief that specific information was provided about

           the loan officer relevant in the instant case.

       (3) Thus, the defense requests permission to order the transcript of this particular

           sealed matter.
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       WHEREFORE, the defendant respectfully requests this court to allow the defense

to order the transcription of that particular sealed hearing.



                                               Respectfully submitted,


                                               /s/ Lawrence S. Beaumont
                                               Lawrence S. Beaumont
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